1:23-cv-01184-CRL-JEH # 318-22   Filed: 04/22/24   Page 1 of 2




            Exhibit 
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                               PERFORMING THE REQUESTED EXAMINATIONS SUCH AS ENTERING OF A GUilTV PLEA OR DISMISSAL OF CHARGES.
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                        u      THIS EVIDENCE IS RECEIVEDWITH THE UNDERSTANDING THAT IT HAS NOT NOR WILL BE, IN THE FUTURE,
                        §      ANALVZED av ANOTHER PERSON OR LABORATORY ON BEHALF OF THE INVESTIGATING AGENCY.
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